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                          UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                              MIDLAND-ODESSA DIVISION

CENTRAL MUTUAL INSURANCE COMPANY §
                                 §
                                 §
    V.                           §                         CA No.     7-20-cv-00081
                                 §
                                 §
TRISHA LEE WELCH                 §

                       PLAINTIFF’S ORIGINAL COMPLAINT
                          FOR DECLARATORY RELIEF

TO THE HONORABLE UNITED STATES DISTRICT COURT:

       COMES NOW Central Mutual Insurance Company and respectfully files this its Original

Complaint for Declaratory Relief against Trisha Lee Welch pursuant to Fed. R. Civ. P. 15(a) and

81(c) and respectfully would show the following:


       1.     Plaintiff Central Mutual Insurance Company is a national enrolled insurer with its

              principle place of business at 800 S. Washington Street, Van Wert, OH 45891-

              2381.

       2.     Defendant Trisha Lee Welch is a Texas resident and can be served at her residence

              at 1301 W. 13th, Apartment 7, Odessa, Texas 79763.

       3.     This Court has jurisdiction under 28 U.S.C. 1332 in that the parties are citizens of

              diverse states, and the amount in controversy exceeds $75,000.00.

       4.     Central seeks declaratory judgment under the federal Declaratory Judgment Act

              28 U.S.C. §§ 2201-2202 and Fed. R. Civ. P. 57 that it owes no duty to defend or

              indemnify Trisha Lee Welch in the Underlying Suit.

       5.     Gemini Pilot Services LLC is the Named Insured under Central Mutual
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        Commercial Lines Policy No. CLP 9899281 10, with effective dates of 3/12/18-19

        (the “Policy” or “CLP”). The policy is subject to a $1 million per occurrence limit,

        with $2 million aggregate.

6.      Gemini Pilot employee Trisha Lee Welch is the named defendant in Cause No. A-

        19-11-1519-CV; Brad King, et al. v. Trisha Lee Welch; in the 70th Judicial District

        Court of Ector County, Texas (the “Underlying Lawsuit”). A true and correct copy

        of the Petition is attached at Exhibit “A” and incorporated herein by reference.

7.      The Underlying Lawsuit alleges that on or about February 3, 2019, at

        approximately 12:03 p.m., Defendant Welch attempted to block the northbound

        lane of traffic on the south frontage road of SH 176 due to a commercial motor

        vehicle traveling the wrong way.

8.      The Underlying Lawsuit further alleges that Defendant Welch’s blocking of the

        roadway caused a tractor-trailer traveling north on SH 349 to come to an abrupt

        stop, causing the vehicle occupied by Roger Lee King and Wendy Lynn Caban to

        collide into the rear of the tractor trailer. Plaintiffs claim that as a result of the

        collision, Roger Lee King and Wendy Lynn Caban were injured and died.

9.      The Underlying Lawsuit alleges causes of action against Welch for negligence,

        gross negligence, and negligence per se, allegedly resulting in various damages.

10.     Central Mutual asserts the applicability of certain policy definitions, provisions,

        and exclusions in the applicable Policy, which exclude any duty to defend and/or

        indemnify Welch. Specifically, Central relies on Policy Definition I, which defines

        “Insured” to mean:

               2. any current … employee … but solely while acting on behalf of
               [Gemini Pilot] or any subsidiary and within the course and scope of

                                           2
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                their duties as such.

        See CLP 8-2364 01 17, p. 3 of 12.

11.     Central would show that the allegations in the Underlying Lawsuit establish that

        Welch was not acting on behalf of Gemini Pilot or within the course and scope of

        her duties by attempting to stop traffic at the time of the alleged incident. Central

        attaches as Exhibit “B” a certified copy of the subject Central Mutual CLP policy,

        which is incorporated herein by reference.

12.     Central also relies upon the definition of “Professional Services” in the Professional

        Liability Endorsement to the CLP policy, Definition P, which provides:

                Professional services means services performed by an Insured for
                others for a fee solely while in the pursuit of the business activities
                stated in the Schedule, Declarations or Change Endorsement.
                Professional Services does not include an independent action of the
                insured outside of or not related to any business activity performed
                for a fee as stated in the Schedule, Declarations or Change
                Endorsement.

        See 8-2364 01 17, p. 4 of 12. As stated in the Declarations, the Premises and

        Operations included are “Pilot Car Operations.” See 8-1527 1185, p. 6 of 7.

13.     Central would show, and requests Declaratory Judgment, that the Policy

        definitions, terms, and exclusions apply to preclude coverage for Welch for the

        Underlying Lawsuit or for any potential duty to defend or indemnify arising

        therefrom under the CLP policy.

14.     Central respectfully requests a bench trial as to issues of fact, if any.




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        WHEREFORE, PREMISES CONSIDERED, Central Mutual Insurance Company prays

that the Court (1) grant Central Mutual declaratory and other relief in the form of a declaration that

Central Mutual owes Welch neither a duty to defend nor to indemnify for the allegations of the

Underlying Lawsuit under the Central Mutual CLP policy; and (2) grant Central Mutual costs of

court and all other and further relief to which Central Mutual Insurance Company may be justly

entitled.



                                               Respectfully submitted,

                                               CHAMBERLAIN ♦ MCHANEY
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                                                        ATTORNEYS FOR PLAINTIFF




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